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PIMA COUNTY LAW ENFORCEMENT MERIT SYSTEM RULES                  Page 1
RULE XIV – POLITICAL ACTIVITY             Effective Date: July 20, 1986

XIV-1 GENERAL

     County employees shall not:

     A.    Engage in political activity while on duty;

     B.    Use any official authority or influence in any way to affect the result of any
           political election or nomination;

     C.    Coerce any County employee to do anything in support of or against any
           party, committee, organization, agency or person for a political purpose;

     D.    Discriminate in favor of or against any County employee or applicant
           because of such employee's or applicant's political contributions or
           activities.
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RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
           AND SPECIAL OBSERVATION          Effective Date: March 16, 2018


XII–1 GENERAL

  A. A disciplinary action is an action taken only for cause to correct inappropriate
     performance or other work-related behavior. The degree of disciplinary action shall
     relate to the gravity of the improper performance or conduct and the past
     performance and conduct of the employee. Progressive discipline, including
     counseling and other supervisory actions to improve conduct and performance,
     should be used whenever possible before taking disciplinary action.

     Within six (6) months of taking disciplinary action, the supervisor shall conduct at
     least one (1) follow-up meeting with the employee to review progress on expectations
     set forth during the initial disciplinary discussion.

  B. Any of the following constitute cause for disciplinary actions:

     1. Fraud in securing appointment or securing or attempting to secure workers’
        compensation benefits;

     2. Incompetency;

     3. Inefficiency;

     4. Neglect of duty;

     5. Insubordination or willful disobedience, including conduct which is unruly;

     6. Dishonesty;

     7. Unlawfully possessing, dispensing or being under the influence of a narcotic,
        barbiturate, marijuana, or a tranquilizing or hallucinogenic drug, except in
        accordance with medical authorization, or in the lawful performance of the
        employee's regular assigned duties;

     8. Being under the influence of alcohol on duty except in the lawful performance of
        the employee’s duties;

     9. Absence without leave;

     10. Commission or conviction of a felony or of a misdemeanor involving moral
         turpitude, either of which would affect the employee’s suitability for continued
         employment;

     11. Discourteous treatment of the public;

     12. Engaging in prohibited political activity;

     13. Misuse of County Government property
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   PIMA COUNTY LAW ENFORCEMENT MERIT SYSTEM RULES                     Page 2
   RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
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XII – 1 B. 14. Misuse of County computers, County internet access, County email systems, or
            any other County electronic communication devices;

         15. Seeking to obtain financial, sexual or political benefit from another employee with
             his/her consent induced by wrongful use of force or fear, or under color of official
             right;

         16. Violation of the Rules of Conduct of Pima County and the Sheriff's Department
             Rules and Regulations;

         17. Multiple wage garnishments;

         18. Failure to maintain minimum qualifications for the position, failure to pass a
             required background check, or for failure to maintain licensing, certification or
             other requirements for the position currently held;

         19. Any other improper conduct or performance which constitutes cause for
             disciplinary action.

  XII–2 PRE-ACTION MEETINGS

     A. When it is intended that a permanent employee be suspended, demoted, dismissed,
        administratively suspended without pay, or involuntarily terminated under Rule XI-10
        B. and C., a meeting shall be held prior to the intended action, at which time the
        affected employee shall be given oral or written notice of the charges against him/her,
        an explanation of the Department’s evidence, and an opportunity to respond to the
        charges.

     B. The Sheriff or a designated Department Representative shall meet with the
        employee. The affected employee is entitled to be assisted by a person of the
        employee’s choosing. The employee’s assistant may not speak on behalf of the
        employee but may advise the employee throughout the duration of the meeting.

     C. This meeting should be held upon reasonable notice to the employee and at a time
        when the employee is reasonably able to attend.

     D. Any relevant information presented by the employee regarding the proposed action
        shall be considered, and the Department Representative shall thereafter make a
        recommendation to the Sheriff or designee to support, modify, or revoke the
        proposed action.

     E. If the Sheriff determines that it is in the best interest of the County, any permanent
        employee may be placed on Administrative Leave with Pay pursuant to Personnel
        Policy 8-107 A.
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RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
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XII–3 TYPES OF DISCIPLINARY ACTIONS

  A. Informal disciplinary action may take one or more of the following forms:

     1. VERBAL COUNSELING

        A supervisor may engage in verbal counseling with an employee at any time for
        problem resolution. If the verbal counseling is documented, the documentation
        shall be placed in the employee's department personnel file. Verbal counseling is
        neither grievable nor appealable.

     2. LETTER OF COUNSELING

        The Sheriff or designee may issue a Letter of Counseling to an employee at any
        time to correct or improve improper performance or conduct. The letter shall
        contain the specifics of the improper performance or conduct and shall be
        identified as a Letter of Counseling. A copy of the Letter of Counseling, with the
        employee’s acknowledgment of receipt and any written response, shall be placed
        in the employee’s department personnel file. A Letter of Counseling is neither
        grievable nor appealable.

        Informal discipline documentation shall be removed from the employee’s
        department personnel file twelve (12) months following the date of issuance. The
        department shall place the disciplinary document(s) in a separate file and retain
        them for the same period of time specified for the retention of department
        personnel files in state records retention requirements.

        Should the employee accept a position in another department, informal
        disciplinary documents previously removed from the employee’s department
        personnel file shall be transferred to the new department in a file separate from
        the employee’s department personnel file.

        Informal discipline that is more than twelve (12) months beyond issuance shall
        not be cited in, or considered a part of, further discipline.

  B. Formal disciplinary action may be taken for serious incidents or repetitive improper
     performance or conduct, and may take one or more of the following forms:

        1. LETTER OF REPRIMAND

            The Sheriff or designee may issue a Letter of Reprimand to admonish an
            employee. The letter shall contain the specifics of the improper performance
            or conduct and shall be identified as a Letter of Reprimand. A copy of the
            Letter of Reprimand with the employee’s acknowledgment of receipt shall be
            placed in both the departmental personnel file and the employee’s official
            personnel file.
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 RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
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XII-3 B.   2.    SUSPENSION

                a. The Sheriff or designee may suspend without pay a permanent
                   employee for a disciplinary reason. Permanent employees may be
                   suspended for any appropriate length of time.

                b. The Notice of Suspension without pay shall contain the specific
                   reason(s) for the suspension in sufficient detail to inform the employee
                   of the reason(s) for the action and shall advise the employee of the
                   right to appeal the suspension to the Law Enforcement Merit System
                   Council within ten (10) calendar days of presentation of notice.

                c. The Notice of Suspension must be delivered to the employee prior to
                   or no later than the effective date of the suspension. The date of receipt
                   must be documented. Copies of the Notice of Suspension shall be filed
                   with the Clerk of the Board of Supervisors and Human Resources.

           3. DEMOTION

                a. The Sheriff or designee may demote a permanent employee for a
                   disciplinary reason as provided in Rule VIII, provided the employee
                   meets the minimum qualifications of the demoted classification.

                b. The Notice of Demotion shall contain the specific reason(s) for the
                   demotion in sufficient detail to inform the employee of the reason(s) for
                   the action and shall advise the employee of the right to appeal the
                   demotion to the Law Enforcement Merit System Council within ten (10)
                   calendar days of presentation of notice.

                c. The Notice of Demotion must be delivered to the employee prior to or
                   no later than the effective date of the demotion. The date of receipt
                   must be documented. Copies of the Notice of Demotion shall be filed
                   with the Clerk of the Board of Supervisors and Human Resources.

           4. DISMISSAL

                a. The Sheriff may dismiss a permanent employee for a disciplinary
                   reason.

                b. The Notice of Dismissal shall contain the specific reason(s) for the
                   dismissal in sufficient detail to inform the employee of the reason(s) for
                   the action and shall advise the employee of the right to appeal the
                   dismissal to the Law Enforcement Merit System Council within ten (10)
                   calendar days of presentation of notice.
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 RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
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XII-3 B. c. The Notice of Dismissal must be delivered to the employee prior to or no later
            than the effective date of the dismissal. The date of receipt must be
            documented. Copies of the Notice of Dismissal shall be filed with the Clerk
            of the Board of Supervisors and Human Resources.


XII – 4     ADMINISTRATIVE SUSPENSION

          Non-disciplinary Suspensions may be given to non-exempt employees without pay
          or with reduced pay by the Sheriff or designee under the following circumstances:

          A. In cases where an employee is charged with a felony or with another crime
             involving moral turpitude, or when it is deemed to be in the best interest of the
             County while an inquiry is being made into the conduct of the employee which
             may constitute cause for disciplinary action.

          B. An employee may be Administratively Suspended for up to thirty (30) business
             days. For extensions beyond thirty (30) business days, approval by the Law
             Enforcement Merit System Council is required.

          C. Subject to the provisions of subparagraph B., the employee may be suspended
             until the inquiry is completed and the employee is acquitted of the charges, the
             charges are dismissed, or the employee is otherwise exonerated.

          D. Notification shall be the same as for disciplinary Suspension.

          E. At the conclusion of the Suspension, the employee shall be returned to work with
             or without back pay, or advised of disciplinary or other action.

          F. The dismissal of charges or the acquittal of the employee shall not preclude
             further or subsequent disciplinary action.

          G. If the employee is exonerated after the investigation, and if the employee had
             been placed on Administrative Suspension without pay or with reduced pay, the
             employee shall be reinstated with all back pay and benefits.

XII – 5     SPECIAL OBSERVATION PERIOD

          A. An employee may be placed on a Special Observation Period for the purpose of
             closely monitoring the employee’s performance or conduct during the specified
             period of time. The purpose of the Special Observation Period is to officially
             advise the employee that his/her conduct or performance shall be closely
             monitored for a specific period of time to ensure that the unacceptable
             performance or conduct does not continue. This need not be in conjunction with
             a disciplinary action.
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RULE XII – DISCIPLINARY ACTIONS, ADMINISTRATIVE SUSPENSION
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     B. The Notice of the Special Observation Period shall be provided to the employee
        in writing, upon the effective date, and shall specify the conduct involved, the
        purpose of the observation period, and the length of the period. The Notice of
        Special Observation shall be separate from any accompanying disciplinary action
        documentation. A copy of the Notice of Special Observation shall be placed in the
        employee’s department personnel file and filed with Human Resources for
        placement in the employee’s official personnel file.


     C. At the end of the Special Observation Period, the employee’s supervisor shall
        prepare a special performance evaluation report specific to the performance
        issue(s) monitored. A copy of the report shall be placed in the employee’s
        department personnel file and filed with Human Resources.

     D. Unsuccessful completion of the Special Observation Period or unacceptable
        performance or conduct during the Special Observation Period may result in
        disciplinary action.

XII–6 EFFECTIVE DATE OF DISCIPLINARY ACTIONS

     The demotion, suspension, or dismissal of an employee for a disciplinary reason
     shall be effective on the date stated in the notice even though the employee exercises
     the right of appeal.
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PIMA COUNTY PERSONNEL POLICIES                                                  Page 1
8-107 - SPECIAL LEAVES OF ABSENCE
        WITH PAY                                    Effective Date: December 6, 2022

A.   Administrative Leave

     Administrative leave with pay may be initiated for any one of the following four
     events:

     1.    Upon approval of the Appointing Authority and the County Administrator, an
           employee may be granted administrative leave with pay when emergency
           situations exist such as extreme weather conditions, fire, flood, or
           malfunction of publicly owned or controlled machinery or buildings, making
           it hazardous or impossible for the employee to get to or perform at their
           workstation (providing alternate work or workstation has not been
           designated).

     2.    An employee shall be granted administrative leave with pay upon the
           declaration of the Board of Supervisors that a state of emergency, disaster,
           or grief exists, and that such leave is to be granted.

     3.    Administrative leave with pay may be given to an employee by the
           Appointing Authority when it is determined to be in the best interest of the
           County, except in the case of layoffs, which may require County
           Administrator approval.

           a.     An employee may be placed on administrative leave with pay for up
                  to thirty (30) business days. For extensions beyond thirty (30)
                  business days, County Administrator approval is required.

           b.     The notification of administrative leave shall be delivered to the
                  employee no later than five (5) business days after the effective date
                  of the leave. The notice shall contain the specific reason(s) for the
                  leave in sufficient detail to inform the employee of the reason(s) for
                  the action. Prior to the commencement of administrative leave under
                  this section, all County property, including County issued
                  identification cards, access badges/key cards, keys, mobile devices,
                  etc., shall be collected from the employee and retained by the
                  department until the conclusion of the leave.

           c.     At the conclusion of administrative leave, the employee shall be
                  returned to work and advised of any appropriate action.

     4.    Upon approval of the Appointing Authority, an exempt or non-exempt
           employee may be granted up to twenty-four (24) work hours of
           management leave with pay per fiscal year during their normally scheduled
           work days and work hours. The purpose of management leave is to
           recognize exceptional performance. Requests for additional management
           leave must be submitted to the County Administrator for consideration and
           shall not be awarded to the employee(s) until approval is received. Each
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PIMA COUNTY PERSONNEL POLICIES                                                  Page 2
8-107 - SPECIAL LEAVES OF ABSENCE
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           department shall provide the County Administrator with a report each fiscal
           year detailing all management leave that is awarded. The report must
           indicate the department, each employee’s name and position held, the
           reason leave is being granted and the dates and total hours of management
           leave awarded. Management leave is non-accruable.

B.   Grievance/Appeal Activity Leave

     Grievance/appeal activity leave applies to preparation and/or investigation of a
     grievance or appeal.

     1.    A permanent employee shall be granted grievance/appeal activity leave
           with pay up to three (3) hours per grievance/appeal. Grievance/appeal
           activity leave is limited to two (2) occurrences per fiscal year. Time in
           excess of the three (3) hour limit shall be charged to some other type of
           leave and must be approved in advance. Pursuant to Merit System Rule
           13.1 D., this three (3) hour limit does not apply to those times when the
           employee is called to testify in a Human Resources grievance/appeal
           proceeding.

     2.    An employee representative shall be granted grievance/appeal activity
           leave with pay up to three (3) hours per grievance/appeal, when requested
           for the purposes of investigation or representation on behalf of another
           employee, for grievances/appeals formally submitted to the appropriate
           authority. Grievance/appeal activity leave is limited to two (2) occurrences
           per fiscal year. Time in excess of the three (3) hour limit shall be charged
           to some other type of leave and must be approved in advance.

     3.    Grievance/appeal activity leave is non-accruable and shall not be taken in
           increments of less than one (1) hour.

     4.    Requests for grievance/appeal activity leave shall be made in writing at
           least three (3) business days in advance, unless conditions preclude such
           advance notice as determined by the Appointing Authority.

C.   Special Program Leave

     1.    Upon approval of the Appointing Authority, an employee may be granted
           special program leave with pay.

     2.    Special program leave applies only to those programs which have been
           approved by the County Administrator and/or Board of Supervisors for
           employee participation.

     3.    Requests for special program leave shall be made in writing at least five (5)
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           business days in advance, unless conditions preclude such advance notice
           as determined by the Appointing Authority.

D.   César Chavez Remembrance Day Leave

     1.    Upon proclamation of the Board of Supervisors, the fourth Monday in March
           shall be designated as a day of remembrance in honor of César Estrada
           Chavez, for his efforts in establishing the farm labor movement.

     2.    Eligible employees, hired prior to the fourth Monday of March, shall be
           granted a day of administrative leave with pay. This administrative leave
           day may be utilized anytime during the month of March.

     3.    Only employees who are in pay status (i.e., not on any type of approved
           leave of absence) are eligible for the remembrance day. The only
           exceptions are employees on intermittent FMLA or intermittent medical or
           victim leave or employees on modified duty workers’ compensation who are
           actually working.

     4.    Full-time employees shall be granted a single day of no more than eight (8)
           hours of paid time off. Leave for other than full-time employees shall be
           paid in the same manner as the holiday benefit as set forth in Personnel
           Policy 8-102 F.

     5.    Intermittent employees, as defined in Merit System Rule 1, are not eligible
           for this remembrance day leave.

E.   Bereavement Leave

     All employees except Elected Officials, intermittent employees as defined in Merit
     System Rule 1 and temporary employees with less than six (6) months of service
     are eligible for bereavement leave.

     1.    Upon approval of the Appointing Authority, an eligible employee may be
           granted paid bereavement leave for each occurrence in the case of the
           death of a family member. For purposes of bereavement leave, “family
           member” is defined as an employee’s spouse, mother, father, step-mother,
           step-father, grandparent, child, step-child, foster child, grandchild, brother,
           sister, father-in-law, mother-in-law, brother-in-law, sister-in-law, daughter-
           in-law, son-in-law, domestic partner or child of a domestic partner. The
           employee must file an affidavit with the department in order to take
           bereavement leave for the death of the domestic partner or the child of a
           domestic partner once a calendar year or more often if a relationship has
           changed in that calendar year or must have a current affidavit on file with
           the Human Resources Department for the domestic partner or child of the
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           domestic partner enrolled under the County’s health benefits plan.

     2.    Paid bereavement leave shall be for a period of up to 24 hours per
           occurrence for the death of an eligible family member occurring within the
           State of Arizona, or up to 40 hours per occurrence for the death of an eligible
           family member where the death or services occur out of state. Employees
           must take bereavement leave within the first six (6) months following the
           death of an eligible family member. Hours need not be taken consecutively.
           Hours not taken within six (6) months of the death of an eligible family
           member shall be forfeited.

     3.    Bereavement leave for other than full-time employees shall be paid in the
           same manner as the holiday benefit as set forth in Personnel Policy 8-102
           F.

     4.    Upon approval of the Appointing Authority, an eligible employee may use
           their sick leave, annual leave, compensatory time or unpaid leave under 8-
           108.F, when additional bereavement time is needed.

     5.    An employee on an approved unpaid leave of absence as defined in 8-
           108.A. is not eligible for bereavement leave unless on intermittent FMLA or
           intermittent medical or victim leave and in pay status during the pay period
           when bereavement leave is requested.

     6.    Bereavement leave may be used for the purpose of making funeral
           arrangements, settling family affairs, bereavement, and/or attending the
           funeral or memorial service of an eligible family member.

     7.    The Appointing Authority or designee may require a death certificate,
           obituary, or documentation from the funeral home.

     8.    Bereavement leave shall not be counted as hours worked for the purpose
           of computing overtime

F.   Parental Leave

     1.    Upon approval of the Human Resources Department, eligible employees
           may be granted up to twelve (12) continuous work weeks of parental leave
           within the first twelve (12) weeks after the birth or adoption of a child.
           Parental leave will be paid at one hundred (100) percent of the employee’s
           regular rate of pay in effect at the time the leave commences. Employees
           may request additional leave (beyond the twelve (12) weeks of parental
           leave) by applying compensatory time or annual leave as approved by their
           Appointing Authority. Where both parents are employed by the County, the
           parents are limited to a combined total of twelve (12) weeks of paid leave.
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     2.    Employees who currently serve in a position that is eligible for benefits and
           have been employed by the County for at least twelve (12) months prior to
           the birth or adoption of a child and commencement of the requested leave
           are eligible for parental leave. Intermittent employees, as defined in Merit
           System Rule 1, are not eligible for parental leave.

     3.    Requests for parental leave must be submitted to Human Resources-Leave
           Administration on the form specified by HR-Leave Administration at least
           thirty (30) days before the leave is expected to begin or as soon thereafter
           as possible.

     4.    When both parents are County employees who meet eligibility guidelines,
           each is entitled to six weeks of parental leave.

     5.    Appointing Authorities may not detail another employee into the position of
           an employee on parental leave and may not otherwise temporarily fill the
           position of an employee on parental leave. Departments are not authorized
           to approve overtime costs for another employee to do the work of an
           employee on parental leave. In exceptional circumstances, an Appointing
           Authority may request County Administrator approval to temporarily fill the
           position of an employee on parental leave.

     6.    Payback provision: Employees who fail to return to work for at least ninety
           (90) calendar days following the end of their approved parental leave agree
           to reimburse the County for the salary and benefits paid by the County for
           the period of parental leave. This reimbursement requirement will be
           excused if the employee’s failure to return to work is related to the onset,
           recurrence, or continuation of a serious health condition of the employee or
           the child.

     7.    Parental leave is set out by Administrative Procedures which comply with
           this policy.

G.   Juneteenth Celebration Day Leave

     1.    The 19th day of June each year is designated as a day of celebration of
           Juneteenth, to commemorate the emancipation of enslaved people in the
           United States.

     2.    Eligible employees hired prior to June 19th shall be granted eight (8) hours
           of administrative leave with pay. This administrative leave day may be
           utilized anytime during the month of June.

     3.    Only employees who are in pay status (i.e., not on any type of approved
           leave of absence) are eligible for the celebration day. The only exceptions
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          are employees on intermittent FMLA or intermittent medical or victim leave
          or employees on modified duty workers’ compensation who are actually
          working.

     4.   Full-time employees shall be granted a single day of no more than eight (8)
          hours of paid time off. Leave for other than full-time employees shall be
          paid in the same manner as the holiday benefit as set forth in Personnel
          Policy 8-102 F.

     5.   Intermittent employees, as defined in Merit System Rule 1, are not eligible
          for this celebration day leave.
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PIMA COUNTY PERSONNEL POLICIES                                                   Page 1
8-119 - RULES OF CONDUCT                                 Effective Date: August 15, 2022

All County employees must observe the following basic work rule principles:

A.    Observe Personnel Policies and, for classified employees, Merit System Rules.

B.    Report to work on scheduled work days at the proper starting time and remain at
      assigned work station for the scheduled periods, unless permission to leave has
      been granted by the supervisor or Appointing Authority.

C.    Do not abuse County leave policies, departmental break, rest, or lunch periods.

D.    Be careful and considerate in the use of County property and equipment. Keep
      tools, machines, vehicles and other County property clean and in proper condition.

E.    Notify your immediate supervisor as required in these Policies if absence from
      assigned duties is necessary.

F.    Obtain County Administrator permission before soliciting, selling, passing petitions,
      or distributing or circulating written or printed matter of any description on County
      property. Employees may post written or printed material on employee bulletin
      boards without permission, provided such material is not detrimental to the County.

G.    Follow established safety practices and report any accidents to the supervisor.

H.    Cooperate in keeping the work site clean and sanitary.

I.    Carry out specific orders or instructions from the immediate supervisor or another
      employee in charge.

J.    Perform a full day's work in an efficient and professional manner in accordance
      with the methods and standards required by the County.

K.    Be responsive to the citizens of the County at all times while performing any duties
      which are related to County employment, or whenever representing the County in
      any capacity.

L.    Prepare all records and reports truthfully and completely.

M.    Establish and maintain effective working relationships with others and do not take
      part in harmful and/or malicious gossip.

N.    Report to the immediate supervisor all known mistakes, policy violations, or
      infractions of the Rules of Conduct.

O.    Report to the immediate supervisor any known willful damage, thievery, or
      unauthorized removal of County property.
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8-119 - RULES OF CONDUCT                                 Effective Date: August 15, 2022

P.   Do not engage in physical violence or threats of physical violence with fellow
     employees and the public.

Q.   Do not use abusive, profane, or obscene language or gestures or display obscene
     or offensive materials. Materials related to the health field which are determined to
     be of business necessity are excluded from this Policy.

R.   Do not make slurs and/or remarks concerning race, color, religion, national origin,
     age, disability, veteran status, genetic information, pregnancy, sex, gender identity,
     gender expression or sexual orientation.

S.   Treat all co-workers and general public in a courteous manner.

T.   Report to Human Resources any occurrence of arrest, notification of a pending
     charge, or conviction, no later than 5:00 p.m. on the next business day.

U.   Follow Pima County Procurement Policy regarding acceptance of gifts.

V.   Do not engage in unethical or illegal behavior with minors who are employed with
     the County or who participate in any County program or activity.

W.   Do not engage in practical jokes or other activities commonly referred to as
     ‘horseplay’. Horseplay is defined as behavior, essentially without malice, and
     usually involves, for example, rough, boisterous or rowdy physical interaction such
     as tripping, grabbing, wrestling, or scuffling and may be inconsistent with ordinary
     and reasonable common sense safety rules.

X.   Do not misuse County email systems for the purpose of producing, distributing, or
     forwarding content that:

     1.     Is discriminatory, harassing, or disruptive which includes, but is not limited
            to, content that is sexually explicit, derogatory or abusive; threatening
            images; cartoons, jokes, or inappropriate or profane language;

     2.     Is demonstrably offensive, regardless of whether or not one or more
            recipients felt threatened, offended, or otherwise disturbed;

     3.     Is not County-related business which includes, but is not limited to, chain
            letters, stories, petitions, warnings, pictures, and/or programs;

     4.     Is sensitive, private, confidential or privileged which may include, but is not
            limited, to personnel matters or decisions, grievances and disciplinary
            actions; or

     5.    May create the appearance of inappropriate use.
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Y.   Supervisory responsibilities include:

     1.     Ensuring that employees are informed regarding changes in County policy
            and working conditions.

     2.     Administering Pima County Merit System Rules, Personnel Policies and
            Administrative Procedures in a fair and equitable manner.

     3.     Ensuring that the work activity of subordinates is performed in an efficient
            manner and is of high quality.

     4.     Monitoring employee conduct for compliance with the Merit System Rules
            and Personnel Policies.

     5.     Modeling appropriate workplace behavior.

     6.     Distributing work in a fair and equitable manner, at the direction of their
            Appointing Authority.

Z.   Prohibited conduct - County employees shall not:

     1.     Hold financial or personal interests that could negatively impact the interest
            of the County.

     2.     Use or attempt to use their official positions or confidential information for
            financial gain or for personal advantage.

     3.     Permit themselves to be placed under any kind of personal obligation or
            allow themselves to be put in any kind of situation which could lead any
            person to expect official or personal favors.

     4.     Give preferential treatment to any private organization or individual.

     5.     Engage in any outside employment as defined in Personnel Policy 8-111 or
            outside activities, including seeking and negotiating for employment, that
            conflict with official and assigned County duties and responsibilities.

     6.     Perform any act in a private capacity which could be considered to be an
            official act.

     7.     Accept or solicit, directly or indirectly, anything of economic value such as a
            gift, gratuity, favor, service, entertainment, or loan, which may, or may not,
            appear to be designed to influence the employee’s official conduct. Specific
            provisions of vendor-related gift policies are set out in Board policies and
            Administrative Procedures.
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    8.    Directly or indirectly use or allow the use of County property of any kind,
          including property leased by the County, for other than official or assigned
          duties.

    9.    Make a political contribution and/or solicit or collect political contributions for
          any candidates for any elected County office.

    10.   Present to any County worksite, perform any County-related work tasks, or
          act in any capacity as a representative of the County while impaired by
          alcohol, marijuana, or any controlled substance, regardless of any valid and
          legal prescription from a doctor or authorized healthcare provider.

    11.   Consume alcohol and/or ingest marijuana or drugs as identified in A.R.S. §
          23-493, during unpaid or paid meal/breaks, on days they are assigned to and
          attend work.
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                                 PIMA COUNTY, ARIZONA
                              BOARD OF SUPERVISORS POLICY


                                                                               Policy
Subject: PERSONNEL ADMINISTRATION                                                                   Page
                                                                              Number
         CLASSIFIED SERVICE / UNCLASSIFIED SERVICE
         POLITICAL AFFILIATION PROTECTION                                      D 23.9               1 of 1

  PURPOSE

  The purpose of this policy is to comply with the regulations applicable to the standards for a merit
  system of personnel administration as set forth by the Federal Office of Personnel Management and
  authorized in the Arizona Revised Statutes.

  BACKGROUND

  Ordinance 1975-36 which established the Pima County Merit System included a very detailed
  reference to the protection to which employees were entitled while involved in political activities. As
  time passed, Pima County became more accustomed to merit system principles and the separation
  of political activities and employment expectations. In 1984, reference to the political activities was
  moved from the Ordinance into the body of the Merit System Rules.

  On October 30, 1990, Resolution 1990-1992, and Policies C.2.1, D.23.3 and D.23.9 were passed
  that detailed prohibited Political Contribution Activities. On March 17, 1992, language and minutes of
  the 1990 meeting were revisited for clarification and the changes are now reflected in Policies C.2.1,
  D.23.3, and D.23.9 and Resolution 1992-46. Board of Supervisor Policy number D.23.9 includes the
  addition of “Unclassified Service” to subject heading. On April 17, 1992, the Board requested further
  clarification to the policies and resolution. The last sentences in the policy language are also added.

  POLICY

  It is the policy of the Board of Supervisors that:

  Employees have the right to participate in partisan political activities but those activities cannot
  influence or interfere with the conduct of official County business or activities. Notwithstanding this
  provision, County employees shall not a) make a political contribution and/or b) solicit or collect
  political contributions for any candidates for any elected County office. Nothing in this section shall
  prohibit Elected County officials from making contributions to political campaigns.

  REFERENCES
 Ordinance No. 2000-81, 2000;
 Title 2 of Pima County Code as amended
 Pima County Merit System Rules
 Pima County Personnel Policies
 Arizona Revised Statutes §11-351, et seq.
 Board of Supervisors Policy C.2.1 and D.23.9



                                                                               Effective Date: October 30, 1990
                                                                               Revised Date: July 7, 2009
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